Case 23-80459 Doc 29 Filed 05/30/24 Entered 05/30/24 16:47:42 Desc Main
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Form G-3 (20240417) Nar emo COUR
UNITED STATES BANKRUPTCY COURT VAY 80 py
NORTHERN DISTRICS sien JEFFREY Pan
DEPUTy Gin NDT, CLERK
In re: ) Chapter ~/7 os
hacen SFOML — Srey . No. 2 - Gove
Debtor(s) ) Judge Fhyane 4 ly al
NOTICE OF MOTION

TO: See attached list

PLEASE TAKE NOTICE that on Dux, S44, at_ Han Iwill

appear before the Honorable ‘/ Bermes  ¢ wanes », or any judge sitting m that judge’s
place, either in courtroom /py_ of the

or electronically as described below, and
present the motion of /4 gf/o4 fe — Canchion¢ Gat oto ngeg of [to/for]
, acopy of which is attached.

Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

To appear by Zoom using the internet, go to this link: https:/Awww.zoomgov.com/.
Then enter the meeting ID and passcode.

To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828-7666, Then enter the meeting ID and passcode.

Meeting ID and passcode. The meeting ID for this hearing is / 6 6 gl S ant
and the passcode is SSAMSS . The meeting ID and passcode can also be found on
the judge’s page on the court’s web site.

If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of

Objection is timely filed, the court may grant the motion in ee it.
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CERTIFICATE OF SERVICE
Me bett Can,

Ci an attorney, certify

~ Of -

rty<oon atone declare under penalty of perjury under the laws of the United States of
America

that I served a copy of this notice and the attached motion on each entity shown on the
attached list at the address shown and by the method shown ne /). ‘cho p Ofwvahn , at

Ne ef Crease fa* etn

[Signature]

* All applicable boxes must be checked and all blanks filled in.
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOiS

In re: ) Case No. 23-80459
)
Karen Auksi Sam , ) Chapter 7
)
Debtor. ) Hon. Judge Thomas Lynch

MOTION FOR SANCTIONS AND CONTEMPT FOR
VIOLATION OF DISCHARGE INJUNCTION

NOW COMES the Debtor, Karen K Auksi Sam, by and
through her husband Robert Sam pro se, and respectfully moves this
Court for an Order finding BKA Holdings, Melissa Mobile and
Nicholas Cronauer in contempt for violating the discharge
injunction pursuant to 11 U.S.C. § 524 and for the imposition of
sanctions, and in support thereof states as follows:

1. **Jurisdiction and Venue**

a. This Court has jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334.

b. Venue is proper pursuant to 28 U.S.C. § 1409.

c. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

2. **Background**

a. On May 4th 2023 , the Debtor filed a voluntary petition for
relief under Chapter 7 of the United States Bankruptcy Code.

b. On August 8th 2023, this Court entered an order granting the
Debtor a discharge under 11 U.S.C. § 727/1328.
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c. The discharge order operates as an injunction against any acts to
collect, recover, or offset any discharged debt as a personal liability
of the Debtor, as provided in 11 U.S.C. § 524.

3. ** Violation of Discharge Injunction**

a. Despite the discharge injunction, BKA Holdings, Melissa
Mobile and Nicholas Cronauer has engaged in actions to collect on a
discharged debt.

b. Specifically, BKA holdings, Melissa Mobile and Nicholas
Cronauer BKA Holdings, Melissa Mobile And Nicholas Cronauer
violated the injunction by adding Karen Sam to a 2024 eviction
complaint ( see attached) a 30 day notice ( see complaint) and a rule
237 notice ( see attached).

c. These actions occurred on November of 2023 through current.

d. The actions of BKA Holdings, Melissa Mobile and Nicholas
Crimaoer are in direct violation of the discharge injunction provided
by 11 U.S.C. § 524.

e. As a result of BKA Holdings, Melissa Mobile and Nicholas
Cronauer’s actions, the Debtor has suffered severe mental and
physical stress. Karen Auksi is disabled and fights everyday for her
life. This violation has brought unwarranted Stress and sickness.

4. **Legal Basis for Contempt and Sanctions**

a. A violation of the discharge injunction is enforceable by
contempt under 11 U.S.C. § 524(a)(2) and the inherent powers of
the bankruptcy court.

b. The standard for finding contempt in the context of a discharge
injunction violation is that the creditor's actions must be willful,
meaning the creditor knew of the discharge and intended the actions
that violated the injunction.

5. **Relief Requested**
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a. The Debtor requests that this Court find BKA Holdings, Melissa
Mobile and Nicholas Cronauer in contempt of court for violating
the discharge injunction.

b. The Debtor seeks the following sanctions against BKA
Holdings, Melissa Mobile and Nicholas Cronauer:

i. Actual damages incurred by the Debtor as a result of the
violation, including mental and physical health stress and sickness.

ii. Punitive damages in an amount sufficient to deter BKA
Holdings, Melissa Mobile and Nicholas Cronauer and other
creditors from future violations.

iti. fees and costs incurred in bringing this motion.

iv. Any other relief that this Court deems just and proper.

WHEREFORE, the Debtor respectfully requests that this
Court enter an Order finding BKA Holdings, Melissa Mobile and
Nicholas Cronauer in contempt for violating the discharge
injunction, awarding sanctions as requested herein, and granting
such other and further relief as this Court deems just and proper.

Dated: May 30th 2024

Respectfully submitted,

Karen K Auksi Sam

Robert Sam husband

639 stonegate dr sycamore Illinois 60178
779-777-3265

harpees5@yahoo.com

Robert Sam for debtor.
N2ATQOt

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Debtor 1 Karen Kristen Auksi-Sam

FirstName MiddlaName Last Name

Debtor 2

(Spouse, I fling) FirstName MiddleName Last Name

United States Bankruptcy Court Northern District of Illinois

Case number: 23-80459 :

Social Security number or ITIN XXX-xx-4850
EIN ~~

Social Security number or ITIN
EIN -

Order of Discharge

12/15

IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

Karen Kristen Auksi-Sam

aka Karen Kristen Auksi, aka Karen Kristen Sam

August 8, 2023

For the court: Jeffrey P. Allsteadt. Clerk
United States Bankruptcy Court

Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,
and it does not determine how much money, if
any, the trustee will pay creditors.

Creditors cannot collect discharged debts

This order means that no one may make any
attempt to collect a discharged debt from the
debtors personally. For example, creditors
cannot sue, garnish wages, assert a deficiency,
or otherwise try to collect from the debtors
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise
in any attempt to collect the debt personally.
Creditors who violate this order can be required
to pay debtors damages and attorney's fees.

However, a creditor with a lien may enforce a
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated.
For example, a creditor may have the right to
foreclose a home mortgage or repossess an
automobile.

Official Form 318

This order does not prevent debtors from paying
any debt voluntarily or from paying reaffirmed
debts according to the reaffirmation agreement.
11 U.S.C. § 524(c), (ff.

Most debts are discharged

Most debts are covered by the discharge, but not
all. Generally, a discharge removes the debtors’
personal liability for debts owed before the
debtors' bankruptcy case was filed.

Also, if this case began under a different chapter
of the Bankruptcy Code and was later converted
to chapter 7, debts owed before the conversion
are discharged.

In a case involving community property: Special
rules protect certain community property owned
by the debtor's spouse, even if that spouse did
not file a bankruptcy case.

For more information, see page 2 >

Order of Discharge page 1

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Document Page 7 of 16 E SoA. b ~
eon

CRONAUER Law, LLP EE
1101 DeKalb Ave., Suite 2

Sycamore, IL 60178

(815) 895-8585

Info@CronauerLaw.com

ene ale ee RE nt an tr

February 27, 2024

Robert Sam, Karen Sam, and all unknown occupants of
639 Stonegate Drive
Sycamore, IL 60178

Subject: 30 Day Notice to Quit Premises - Non-Payment of Rent, Utilities, breach of lease terms,
735 ILCS 5/9-120.

Dear Robert Sam, Karen Sam, and all unknown occupants.

This letter serves as a formal Notice to Quit Premises in accordance with Section 4024(C) of the federal
Coronavirus Aid, Relief, and Economic Security (CARES) Act and applicable state and local laws.

‘As of the date of this notice, you ate in artears of rent for the period of January 2022 through present
day, totaling an amount not less than $5,780. This notice is to inform you that due to the non-payment
of rent, you ate required to vacate the premises located at 639 Stonegate Drive, Sycamore, Illinois,
60178 no later than 30 days from the date of this notice, which is March 28, 2024. As of the date of
this notice, you are also in breach of the August 21, 2022, lease terms, specifically § 9, and 735 ILCS
5/9-120.

Please understand that the failure to pay rent, comply with the lease terms, and conduct prohibited by
735 ILCS 5/9-120, this violates the terms of your lease agreement dated August 21, 2022. In
accordance with the federal CARES Act, you are hereby given 30 days’ notice to vacate the premises.
If you do not vacate by March 28, 2024, legal proceedings may be initiated to recover possession of
the property.

Please be advised that this notice is made under the specific requirements set forth in Section 4024(c)
of the CARES Act and is subject to change based on any amendments to federal, state, or local laws.

We appreciate your immediate attention to this matter. If you have any questions or need further
clarification, please do not hesitate to contact me directly at (81 5) 895-8585,

Sincerely,

/s/ C. Nicholas Cronauer
1101 DeKalb Ave., Suite 2
Sycamore, IL 60178
Case 23-80459 Doc 29 Filed 05/30/24 Entered 05/30/24 16:47:42 Desc Main
This form is approved by the Illinois SupraA@tOGH And id ta@aréu@d AHaccepted in all Illinois Circuit Courts.

STATE OF ILLINOIS,
CIRCUIT COURT

DeKalb

EVICTION COMPLAINT
COUNTY

Instructions ¥

Directly above, enter
the name of the
county where you will
file the case.

Plaintiff (For example, the landlord or owner):
BKA HOLDINGS, LLC, an Illinois Limited Liability Compa

Enter your name as
Plaintiff,

Below "Defendants,"
enter the names of all
the people you are
trying to evict.

Vv.

Defendants (First, middle, last name):
ROBERT SAM and KAREN SAM

The sheriff will only
evict unknown
occupants if the
“Unknown
Occupants” box is
checked.

The Circuit Clerk will
add a Case Number.

Unknown Occupants (Unknown Occupants are
people living in the property whose names you do not
know.)

For Court Use Only

FILED

3/29/2024 10:41 AM
2024EV0001 36

tori Grubbs

Clerk of the Circuit Court
Dekalb County, tlinois

2024EV000136

Case Number

In 1, enter the
address of the

property.

In 2a-e, check the
reason you are asking
the court to evict
Defendants from the

property.

In 3, check the boxes
that apply to your
situation.

E-C 3502.2

4. {have the right to possession of the following property:
Address: 639 Stonegate, Sycamore, IL 60178

Address, Unit # City

State ZIP

2. Defendants unlawfully withhold possession and have no right to stay in the property

because (check ail that apply):

a. | ended (terminated) the lease for nonpayment of rent. Defendants owe rent for the

to 03/29/2024
Date

period: 01/01/2022
Date

in the amount of

$6,228.60,

b. They refused to leave the property after their oral or written lease ended.
c. | ended (terminated) the lease because Defendants violated the terms of their lease

by (explain how they violated the lease):

Refused landlord agent's entry in breach of

lease paragraph § 9 (Exhibit A) and 735 ILCS 5/9-120 (Exhibit C)

d. [_] They are trespassers.
e. They entered lawfully but have overstayed.

3. | demand possession of the property and court costs.
| also demand (check all that apply):
Past due rent in the amount of $6,228.60 _
Rent due through the date of judgment.
Attorneys' fees, if allowed under the law.

Page 1 of 2

(09/22)

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This form is approved by the Hinds Supranre CourP ¢0¢ @ccepted in all illinois Courts.
Forms are free at ilcourts.info/forms.
STATE OF ILLINOIS, Far Court Use Only
CIRCUIT COURT
EVICTION SUMMONS
‘COUNTY
erry \
Instructions bo > h . p it

Directly above, enter Plaintiff (For example, the landlord or owner):
the name of county BKA HOLDINGS, LLC, an Illinois Limited Liability Compa
where you will file
the case.

Enter your name as
Plaintiff,

Below "Defendants,"
enter the names of all
the people you are

Vv.

Defendants (First, middle, last name):

trying to evict. Robert Sam and Karen Sam

The sheriff will only

evict unknown

occupants if the

“Unknown [-] Unknown Occupants (Unknown Occupants are people

Occupants” box is living in the property whose names you do not know.)

checked. ’ 2024EV000136
Enter the Case [J Alias Summons (Check this box if this is not the 1* Case Number
Number given by the Summons issued for this Defendant.)

Circuit Clerk.

IMPORTANT: You have been sued.

e Read all documents attached to this Summons.

© You MUST attend court on the date in this Summons. If you do not, the judge may decide the case without hearing
from you. This is called “default.” As a result, you could lose the case.

© You do not have to file a document called an Answer/Response in an eviction case unless ordered to by the judge.
You may have to file a document called an Appearance. If you do not file required court documents on time, the
judge may decide the case without hearing from you. This is called “default.” As a result, you could lose the case.

» All documents referred to in this Summons can be found at ilcourts.info/forms. Other documents may be available
from your local Circuit Court Clerk’s office or website.

e After you fill out the necessary documents, you need to electronically file (e-file) them with the court. To e-file, you
must create an account with an e-filing service provider. For more information, go to ilcourts.info/efiling. If you
cannot e-file, you can get an exemption that allows you to file in-person or by mail.

e You may be charged filing fees, but if you cannot pay them, you can file an Application for Waiver of Court Fees.

¢ It is possible that the court will allow you to attend the first court date in this case in-person or remotely by video or
phone. Contact the Circuit Court Clerk’s office or visit the Court’s website to find out whether this is possible and,
if so, how to do this.

e Need help? Call or text Illinois Court Help at 833-411-1121 or go to ilcourthelp.gov for information about going to
court, including how to fill out and file documents. You can also get free legal information and legal referrals at
illinoislegalaid.org.

e Necesita ayuda? Llame o envie un mensaje de texto a Illinois Court Help al 833-411-1121, o visite ilcourthelp.gov
para obtener informacién sobre los casos de la corte y cémo completar y presentar formularios.

Plaintiff:

If you are suing more than 1 Defendant, fill out an Eviction Summons form for each Defendant,
including 1 Eviction Summons for all Unknown Occupants, if checked. To serve this Summons,
see How to Serve a Summons at ilcourts.info/forms.

E-S 3507.3

Page 1 of 6 . . (05/23)
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In 1a, enter the name
and address of a
Defendant.

In ib, enter a second
address for Defendant
if you have one.

In le, check how you
are sending your
documents to
Defendant. If you
need more
information, see How
to File Present &
Eviction Case
available at
ilcourts.info/forms.

Tn 2, enter your
contact information.

Enter your complete
address, telephone
number, and email
address, if you have
one.

lerk:

Datars Fes® Nyse aveePypa gircuit

4. Defendant’s address and service information

a.

Defendant’s primary address/information for service:
Name (First, Middle, Last: Robert Sam and Karen Sam

Street Address, Unit #: 639 Stonegate Drive

City, State, ZIP: Sycamore, IL 60178

Telephone: Email:

if you have more than one address where Defendant might be found, list that here:
Name (First, Middle, Last):

Street Address, Unit #:

City, State, ZIP:

Telephone: Email:
Method of service on Defendant

C] Sheriff [[] Sheriff outside Iilinois:

County & State

Special process server ‘] Licensed private detective

2. Contact information for the Plaintiff:

[] Association

Landlord/Owner [1] Agent [] Receiver

Name (First, Middle, Last): BKA HOLDINGS, LLC, c/o Cronauer Law, LLP
Street Address, Unit #: 1101 Dekalb Ave Suite 2
City, State, ZIP: Sycamore, IL 60178

Telephone:
Email:

8158958585

service @cronauerlaw.com

GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.

Instructions for person
getting this form

(Defendant):

The Plaintiff has filed a case in court to have you evicted. The Plaintiff's Eviction Complaint is attached.

If you do not go to court, you could lose the case by default.

The judge could order you to move and pay the Plaintiff money.

Before you go to court, read YOU HAVE RIGHTS on page 4,

If you are not ready for trial on your court date, you may ask the judge for more time. The judge
does not have to give you more time. ‘

In 3, the plaintiff
should enter:

eThe court date and
time that the clerk’s
office assigns to the
case.

eThe address of the
courthouse.

eThe call-in or video
conference
information for
remote appearances
(if applicable).

The clerk’s phone
number and website.

All of this
information is
available from the
Circuit Clerk.

For more
information about
how to complete 3,
see How to File &
Present an Eviction

E-S 3507.3

3. Instructions for the person receiving this Eviction Summons (Defendant):
You must attend court on the date below:

04/16/2024 at 9:00 am. [-] p.m.in 200
Date Time Courtroom
In-person at:
Courthouse Address City State ZIP
OR

Remotely (you may be able to attend this court date by phone or video conference.
This is called a “Remote Appearance.”)
By telephone:

Call-in number for telephone remote appearance
By video conference: Zoom

Video conference website
Meeting Room ID: 864 920 8888 Password: 12345

Video conference log-in information (meeting ID, password, etc. )

Call the Circuit Clerk at 8158957131 or visit their website at:

Circuit Clerk’s phone number
to find out more about how to do this.

Circuit Clerk’s website

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Case at
ilcourts.info/forms.
You can also call or
text Illinois Court
Help at 833-411-
1121,

STOP!

The Circuit Clerk
will fill in this
section.

STOP!

The officer or
process server will
fill in the Date of
Service.

E-S 3507.3

Décenhefase Numba aivanby fre] Greuit Clerk: SebsAPooesc Main

4/1/2024 12:48 PM
Witness this Date: 1
‘ BM

Clerk of the Court:

To the Sheriff or special process server: Serve this Eviction Summons and Eviction
Complaint on the Defendant named above. This summons must be served at least 3 days
before the court date (7 days in Cook County). Check with the Circuit Clerk.

Date of service:

(Date to be entered by an officer or process server on the copy of this Summons left
with the Defendant or other person.)

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IN THE CIRCUIT COURT OF THE TWENTY-THIRD JUDICIAL CIRCUIT

DEKALB COUNTY, ILLINOIS

BKA HOLDINGS, LLC, an Illinois Limited

Liability Company, FILED
5/23/2024 12:43 PM

Plaintiff, 2024EV000136

v. Case No. 2024 EV 136 Moni Abba.

ROBERT SAM and KAREN SAM, & Lori Grubbs

Clerk of the Circuit Court

Unknown Occupants DeKalb County, tlinois

Defendants.

PLAINTIFF’S SUPREME COURT RULE 237 NOTICE TO PRODUCE AT
HEARING

NOW COMES the Plaintiff by and through their attorney of record pursuant to
Supreme Coutt Rule 237(b), and demands that the following be produced at the time of
heating on June 3, 2024, at 1:30 p.m.:

1. The appearance of the following party at trial:

a. Karen Sam

2, The production of documents at trial for this case captioned above to the
Plaintiff the originals or certified copies of:
a. any cancelled check, money orders, and/or cashier checks made payable to
any petson or entity Defendants issued for rent or utility payments for 639
Stonegate Drive, Sycamore, IL 60178,
b, all banking or financial statements or account from January 1, 2021 through
present day showing any debits or currency Defendants utilized to pay rent or
utilities for 639 Stonegate Drive, Sycamore, IL 60178,

c. any cash withdraw/ATM teceipts evidencing Defendants paying any rent or
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utility monies owed for 639 Stonegate Drive, Sycamore, IL 60178; and

d. Any other document that establishes Defendants payment of rent or utility
payments for 639 Stonegate Drive, Sycamore, IL 60178

e. Defendants’ tax returns for 2021 through present day;

f. Income verification Defendants submitted to maintain your housing voucher
for 2021-present day; and

g. Any document establishing any soutce of income, currency, or cash
Defendants’ received from any patty that was not included in any tax return
filed ot income verification that you submitted for housing eligibility.

Respectfully Submitted,

/s/ C. Nicholas Cronauer

CRONAUER LAW, LLP

1101 De Kalb Ave., Suite 2
Sycamore, Illinois 60178
Telephone: (815) 895-8585
Facsimile: (815) 895-4070
NC@ctronauerlaw.com
Setvice@ctonauetlaw.com
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MOTION TO DISMISS EVICTION PROCEEDING AND FOR
PROTECTIVE ORDER
Defendant, Robert And Karen Sam, by and through pro se, hereby
moves this Honorable Court to dismiss the eviction proceeding
initiated by Plaintiff, BK A Holdings, on the grounds that the
eviction is based on debts discharged in Defendant's bankruptcy
case, thereby violating the discharge injunction under federal
bankruptcy law. Additionally, Defendant seeks a protective order to
prohibit Plaintiff from asking Defendant to answer questions and
testify about financials that were already discharged. In support of
this motion, Defendant states as follows:
1. Background
1.1. Defendant filed a petition for relief under Chapter 7 of the
Bankruptcy Code on May 4, 2023
1.2. The United States Bankruptcy Court for the Northern
District of Illinois entered an order discharging Defendant's
debts on August 8th 2023
1.3. The discharge order enjoins creditors from attempting to
collect or seek payment on discharged debts and from pursuing
legal actions related to such debts pursuant to 11 U.S.C. §
524 (a).
2. Eviction Proceeding
2.1. On February 27th 2024 Plaintiff initiated this eviction
proceeding against Defendant, Case No. 2024EV136, based on
non-payment of rent and other debts that were included in and
discharged by Defendant's bankruptcy case.
2.2. Plaintiff has also sought to compel Defendant to answer
questions and testify about financial matters that were
discharged in the bankruptcy case.
3. Violation of Discharge Injunction
3.1. Pursuing an eviction based on discharged debts constitutes
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a violation of the discharge injunction pursuant to 11 U.S.C. §
524(a)(2), which prohibits any act to collect, recover, or offset
any discharged debt as a personal liability of the debtor.

3.2. Asking Defendant to answer questions and testify about
discharged financial matters further violates the discharge
injunction and subjects Defendant to undue burden and
harassment. See In re Pratt, 462 F.3d 14, 17 (1st Cir. 2006)
("The discharge injunction prohibits a broad array of collection
actions and is intended to give debtors a fresh start.").

Illinois Law on Eviction Notices and Complaints

4.1. Under Ilinois law, a 30-day notice and eviction complaint
must be accurate and precise, including the correct amounts
owed. See Hickey v. Illinois Central Railroad Co., 35 Ill. App.
3d 1043, 1046 (IIL. App. Ct. 1976) ("The notice must state with
accuracy the amount of rent due and must be in conformity with
the facts.").

4.2. In this case, the eviction complaint inaccurately names the
Defendant as liable for debts that have been discharged in
bankruptcy.

4.3. The notice and complaint erroneously refer to "defendants,"
plural, further indicating inaccuracies and procedural defects.
4.4. Because the complaint includes amounts and parties that are
protected under the bankruptcy injunction, the 30-day notice
and eviction complaint are invalid and unenforceable under
Illinois law.

Request for Relief

WHEREFORE, Defendant respectfully requests that this
Honorable Court enter an order:

a. Granting this Motion to Dismiss the Eviction Proceeding;

b. Enjoining Plaintiff from continuing with the eviction
proceeding against Defendant based on discharged debts;

c. Prohibiting Plaintiff from asking Defendant to answer
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questions and testify about financial matters that were
discharged in the bankruptcy case;
d. Awarding Defendant reasonable attorney’s fees and costs
incurred in bringing this motion;
e. Granting such other and further relief as this Court deems just
and proper.

Dated: May 30th 2024

Respectfully submitted,

Robert Sam

Pro Se

639 stonegate dr

Sycamore Illinois 60178

779-777-3265

harpees5@yahoo.com

Certificate of Service

I hereby certify that on May 31st 2024,a true and correct copy of the
foregoing Motion to Dismiss Eviction Proceeding and for Protective
Order was served upon:

BKA Holdings and Nicholas Cronauer

by email:

nc@cronauerlaw.com

melissamobile33@gmail.com

